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    1
                                      UNITED STATES DISTRICT COURT
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    3                               SOUTHERN DISTRICT OF CALIFORNIA

    4                               (HONORABLE BARRY TED MOSKOWITZ)
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    7   UNITED STATES OF AMERICA,                              Case No.: 08CR4406-BTM
    8                  Plaintiff,
    9          vs.
                                                           ORDER TO CONTINUE
   10   WILLIAM DUNKLE,                                    SENTENCING HEARING

   11                  Defendant.
   12   ____________________________________________________

   13           FOR GOOD CAUSE SHOWN, IT IS HEREBY ORDERED that:
   14         The sentencing hearing scheduled for Friday, January 22, 2010 at 10:30 a.m. be continued
   15   to Friday, March 5, 2010 at 10:30 a.m.
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   18           SO ORDERED.
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   20   DATED: January 14, 2010
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   23                                                                 BARRY
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                                                                         R Y TED MOSKOWITZ
                                                                      United States District Court Judge
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